

Matter of John D. (Shaina B.) (2019 NY Slip Op 05871)





Matter of John D. (Shaina B.)


2019 NY Slip Op 05871


Decided on July 31, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 31, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


410 CAF 18-00583

[*1]IN THE MATTER OF JOHN D., JR. ONONDAGA COUNTY DEPARTMENT OF CHILDREN AND FAMILY SERVICES, PETITIONER-RESPONDENT; SHAINA B. AND JOHN D., RESPONDENTS-APPELLANTS. (APPEAL NO. 4.) 






FRANK H. HISCOCK LEGAL AID SOCIETY, SYRACUSE (DANIELLE K. BLACKABY OF COUNSEL), FOR RESPONDENT-APPELLANT JOHN D. 
BELLETIER LAW OFFICE, SYRACUSE (ANTHONY BELLETIER OF COUNSEL), FOR RESPONDENT-APPELLANT SHAINA B.
ROBERT A. DURR, COUNTY ATTORNEY, SYRACUSE (CATHERINE Z. GILMORE OF COUNSEL), FOR PETITIONER-RESPONDENT.
RICHARD T. WARD, SYRACUSE, ATTORNEY FOR THE CHILD. 


	Appeals from an order of the Family Court, Onondaga County (Michael L. Hanuszczak, J.), entered February 16, 2018 in a proceeding pursuant to Family Court Act article 10. The order, among other things, modified a prior order by placing the subject child in the custody of petitioner pending a permanency hearing. 
It is hereby ORDERED that said appeals are unanimously dismissed without costs.
Same memorandum as in Matter of Nyjeem D. ([appeal No. 1] — AD3d — [July 31, 2019] [4th Dept 2019]).
Entered: July 31, 2019
Mark W. Bennett
Clerk of the Court








